 

Wpo,m@.,g.m§, Case 1:08-cv-03743

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Page 1 of 1

United States District Court, Northern District of Illinois

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Sltdtlg Judgn if Cltlmr

 

 

 

 

 

 

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Irii`ir“Maigiizstg:i\et\e .liid:; Charles R' Norgle than Auigned lodge
CASE NUMBER 03 C 374-3 DATE 7/7/2008
CASE Slutsky vs. Empire Today, Inc.
TITLE
DOC'KET ENTRY TEXT

 

 

Pleintif’f’$ Applieation to Proceed in Ferma Petlperis [4] is denied. Plaintiff indicates that he eams $1,600 per
month in wages. Plaintiti’s Motinn for Appointment of Counsel [5] is denied at this time. ’I'he court may
revisit the issue of appointed counsel after the Def`endant has answered er otherwise pled.

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Courtmem Deputy
Initials:

 

 

 

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Page 1 of l

